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                                UNITED STATES DISTRICT COURT FOR
                                   THE DISTRICT OF NEW JERSEY

 IN RE: PROTON-PUMP INHIBITOR
 PRODUCTS LIABILITY LITIGATION (NO. II)                                MDL No. 2789 (CCC) (MF)

 This document relates to:
Dorothy Ross
v.
Abbott Laboratories, et al.




              SECOND AMENDED SHORT FORM COMPLAINT AND JURY DEMAND

                 The Plaintiff(s) named below file(s) this Second Amended Short Form Complaint

         and Jury Demand against Defendants named below by and through their undersigned

         counsel and as permitted by Case Management Order No. 7. Plaintiff(s) incorporate(s) by

         reference the allegations contained in Plaintiffs’ Master Long Form Complaint and Jury

         Demand in In re: Proton-Pump Inhibitor Products Liability Litigation, MDL 2789, in the

         United States District Court for the District of New Jersey pursuant to Case Management

         Order No. 7.

                 In addition to those causes of action contained in Plaintiffs’ Master Long Form

         Complaint and Jury Demand, where certain claims require specific pleadings and/or

         amendments, Plaintiff(s) shall add and include them herein.

                                     IDENTIFICATION OF PARTIES

         Identification of Plaintiff(s)

         1.       Name of individual injured/deceased due to the use of PPI Product(s):

                  Dorothy Ross                                                                     .

         2.       Consortium Claim(s): The following individual(s) allege damages for loss of

         consortium:                                                                               .



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3.     Survival and/or Wrongful Death Claims:

         a. Plaintiff,                          , is filing this case in a representative capacity

            as the                                       of the Estate of                            ,

            deceased.

         b. Survival Claim(s): The following individual(s) allege damages for survival

            claims, as permitted under applicable state laws:

                                                                                                 .


4.       As a result of using PPI Products, Plaintiff/Decedent suffered pain and suffering,

emotional distress, mental anguish, and personal and economic injur(ies) that are alleged to

have been caused by the use of the PPI Products identified in Paragraph 10, below, but not

limited to the following:
                 X
                             injury to himself/herself

                             injury to the person represented

                            wrongful death

                             survivorship action

                             economic loss

                             loss of services

                             loss of consortium

                             other:




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Identification of Defendants


5.       Plaintiff(s)/Decedent is/are suing the following Defendant(s) (please check all that
apply:

          
          ✔     Abbott Laboratories

          ✔
               AstraZeneca Pharmaceuticals LP

          ✔
               AstraZeneca LP

          ✔
               GlaxoSmithKline Consumer Healthcare Holdings (US) LLC

          ✔
               Merck & Co. Inc. d/b/a Merck, Sharp & Dohme Corporation

          ✔
               Novartis Corporation

          ✔
               Novartis Pharmaceutical Corporation

          ✔
               Novartis Vaccines and Diagnostics, Inc.

          ✔
               Novartis Institutes for Biomedical Research, Inc.

          ✔
               Novartis Consumer Health, Inc.

          ✔
               Pfizer, Inc.

          ✔
               The Procter & Gamble Company

          ✔
               The Procter & Gamble Manufacturing Company

          
          ✔     Takeda Pharmaceuticals U.S.A., Inc.

          
          ✔     Takeda Pharmaceuticals America, Inc.

          ✔
               Takeda Development Center Americas, Inc. f/k/a Takeda Global
                Research & Development Center, Inc.
          ✔
               Takeda Pharmaceutical Company Limited

               Other(s) Defendant(s) (please identify):




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                                 JURISDICTION & VENUE

Jurisdiction:

6.          Jurisdiction in this Short Form Complaint is based on:

             ✔
                   Diversity of Citizenship

                   Other (The basis of any additional ground for jurisdiction must be pled in

sufficient detail as required by the applicable Federal Rules of Civil Procedure).



Venue:

7.       District Court(s) in which venue was proper where you might have otherwise filed

 this Short Form Complaint absent Case Management Order No. 7 entered by this Court

 and/or to where remand could be ordered:
 United States District Court for the Eastern District of Louisiana
                                                                                                 .

                                     CASE SPECIFIC FACTS
                                                                 New Orleans, LA
8.          Plaintiff(s) currently reside(s) in (City, State):                        .

9.          To the best of Plaintiff’s knowledge, Plaintiff/Decedent used PPI Product(s) during
                               2009-Present
the following time period:                                                                       .

10.         Plaintiff/Decedent used the following PPI Products, for which claims are being

asserted:

             ✔
                   Dexilant

             ✔
                   Nexium

             ✔
                   Nexium 24HR

             ✔
                   Prevacid

             
             ✔      Prevacid 24HR


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           ✔
                Prilosec

           ✔
                Prilosec OTC

           ✔
                Protonix

           ✔
                Other (List All):


11.      The injuries suffered by Plaintiff/Decedent as a result of the use of PPI

Products include, among others that will be set forth in Plaintiff’s discovery responses

and medical records:

                Acute Interstitial Nephritis (AIN)

                Acute Kidney Injury (AKI)

           
           X     Chronic Kidney Disease (CKD)

                End Stage Renal Disease (ESRD)

                Dialysis

                Death

                Other(s) (please specify):




12.      At the time of the Plaintiff’s/Decedent’s diagnosis of injury, Plaintiff/Decedent
                            New Orleans, LA
resided in (City, State):                                                                    .




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                                CAUSES OF ACTION

13.     Plaintiff(s), again, hereby adopt(s) and incorporate(s) by reference the Master

Long Form Complaint and Jury Demand as if fully set forth herein.

14.   The following claims and allegations asserted in the Master Long Form

Complaint and Jury Demand are herein more specifically adopted and incorporated by

reference by Plaintiff(s) please check all that apply):


          ✔
                Count I: Strict Product Liability

          
          ✔      Count II: Strict Product Liability – Design Defect

          ✔
                Count III: Strict Product Liability – Failure to Warn

          ✔
                Count IV: Negligence

          ✔
                Count V: Negligenc Per Se

          ✔
                Count VI: Breach of Express Warranty

          ✔
                Count VII: Breach of Implied Warranty

          ✔
                Count VIII: Negligent Misrepresentation

          ✔
                Count IX: Fraud and Fraudulent Misrepresentation

          ✔
                Count X: Fraudulent Concealment

          ✔
                Count XI: Violation of State Consumer Protection Laws of the State(s) of:
                 La. Rev. Stat. Ann.§§ 51:1401 et seq.
                                                                                          .
                Count XII: Loss of Consortium

                Count XIII: Wrongful Death

                Count XIV: Survival Action




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            †     Furthermore, Plaintiff(s) assert(s) the following additional theories and/or

Causes of Action against Defendant(s) identified in Paragraph five (5) above. If Plaintiff(s)

includes additional theories of recovery, to the extent they require specificity in pleadings,

the specific facts and allegations supporting these theories must be pled by Plaintiff(s) in a

manner complying with the requirements of the Federal Rules of Civil Procedure:




         WHEREFORE, Plaintiff(s) pray(s) for relief and judgment against Defendants of

compensatory damages, punitive damages, interest, costs of suit and such further relief as

the Court deems equitable and just, and as set forth in the Master Long Form Complaint

and Jury Demand, as appropriate.

                                        JURY DEMAND

         Plaintiff(s) hereby demand a trial by jury as to all claims in this action.
         January 29, 2019
Dated:


                                               Respectfully Submitted,




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